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13
14                              UNITED STATES DISTRICT COURT
15                           SOUTHERN DISTRICT OF CALIFORNIA
16     UNITED STATES OF AMERICA,                  Case No. 18cr4683-GPC
17                 Plaintiff,                     UNITED STATES’ RESPONSE TO
                                                  DEFENDANTS’ MOTION TO COMPEL
18           v.                                   DISCOVERY REGARDING THE
                                                  ORIGIN OF RECORDS RECEIVED
19     JACOB BYCHAK et. al.,
20                 Defendants.
21
22
23          Defendants’ Motion to Compel should be denied because it relies on
24 a series of incorrect and unsupported assumptions, including that the
25 prosecution team has both improperly withheld discovery and tasked
26 private parties to misappropriate Company A documents. To date, the
27 United States has disclosed both the records it received from the source
28 of information at Spamhaus (SS) and, to the extent such information is
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 1 in the prosecution team’s possession, the origin of those records. Any
 2 Company A records produced by SS that originated from a private party,
 3 such as a suspected Company A insider, were received after the United
 4 States had obtained search warrants and issued subpoenas seeking records
 5 from or related to Company A. The doctrine of inevitable discovery would
 6 also apply had the United States received such records earlier.
 7 Moreover, the provision of records by one private party to a second
 8 private party, who later provides those records to the government
 9 without any direction or encouragement by the United States does not
10 provide a basis for suppression under the Fourth Amendment.                     As such,

11 the requested information is neither material nor discoverable.
12                                              I.

13                               STATEMENT OF RELEVANT FACTS

14           In   June   of   2014,   SS   advised   the   FBI   that   Spamhaus   received

15 information about the activities of Company A from an anonymous private
16 party (Anon-1). SS speculated that Anon-1 was an individual (CY) who
17 briefly worked at a firm related to Company A until mid-2013, prior to
18 any of the substantive offenses charged in the Indictment. SS provided
19 an email address for Anon-1 to the FBI. 1 The FBI then wrote to the email
20 address SS provided for Anon-1. Anon-1 did not, however, agree to meet
21 or speak with the FBI and the FBI did not ultimately receive documents
22 or information from Anon-1. (See Declaration of Assistant U.S. Attorney
23 Melanie Pierson, attached as Exhibit 1 hereto.)
24           In December of 2014, the United States obtained a warrant for

25 defendant Manoogian’s Company A email account, and, six months later,
26 obtained a warrant for four other Company A email accounts and the email
27
      1   The government does not know whether the individual using the Anon-1
28 email address was actually CY.
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 1 account of Daniel Dye. In September of 2016, the United States issued
 2 subpoenas duces tecum to Company A and five related companies, obtaining
 3 documents and emails duplicative of those obtained in the warrants, as
 4 well as numerous additional records that the government will seek to
 5 admit at trial. Id. Of the approximately 1,904,907 pages of discovery
 6 produced to date, approximately 1,365,668 pages, or about 70%, consists
 7 of records obtained pursuant to those six subpoenas.
 8          In December of 2017, after the issuance of the subpoenas, the FBI

 9 interviewed CY. The report of interview does not indicate that CY
10 identified himself as Anon-1. Thereafter, through his attorney, CY
11 provided four documents to the government in an email from his attorney
12 dated January 10, 2018.
13          Defendants’ Exhibit C (DKT 257-5) 2 is an email dated September 27,

14 2017, wherein SS advised the FBI, “So far I have not included anything
15 our informants have given us.” The dates of this email and the January
16 10, 2018 email from CY’s attorney forwarding CY’s documents show that
17 the government did not receive any items or records from Spamhaus that
18 originated from any anonymous private party or CY prior to September
19 27, 2017, at least a year after the subpoenas duces tecum were issued
20 to Company A and the five related firms.
21          The   government   has   provided   the   defense   with   the   reports   of

22 contacts with SS, which document the information and records provided,
23 and the dates upon which the contact or production occurred. The
24 government has also provided the defense with the emails between the
25 FBI and SS, and any attachments that were sent to the FBI with those
26 emails, which also show the dates of transmission. The defense is
27 therefore in possession of the information received by the government
28    2 The bates stamp on Exhibit C is [Company A]-DISC26-02119.
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 1 from SS and the dates upon which the information was received. There is
 2 no evidence in any of these materials that the FBI directed or
 3 encouraged SS to attempt to obtain internal Company A documents. To the
 4 extent that SS provided information regarding the origin of the
 5 information SS provided to the government, that origin is documented in
 6 the reports and emails. The information known to the prosecution team
 7 regarding the origin of the information provided by SS has been
 8 disclosed, and the prosecution team has no further information in its
 9 possession to provide regarding that subject.
10                                           II.

11                    THE INFORMATION SOUGHT IS NOT DISCOVERABLE.

12          In its motion to compel, the defense assumes that unidentified

13 documents were “cultivated” or “purloined” from Company A by an
14 unidentified Company A employee or fiduciary, whom they assume provided
15 the documents to SS, whom they further presume provided the documents
16 to the FBI. Although the prosecution team has provided the defense with
17 all the information in its possession regarding the origin of the
18 records disclosed in discovery, the defense now seeks to have the
19 government conduct additional investigations on behalf of the defense
20 and make further inquiry with Spamhaus regarding the origin of all
21 records provided to the government.
22          The government should not be tasked with investigating unfounded

23 assumptions set forth by the defense. The Ninth Circuit in United States
24 v. Santiago, 46 F.3d 885, 894 (9th Cir. 1995) defined the standard for
25 disclosure of documents or evidence material to the defense:
26          A defendant must make a threshold showing of materiality, which
            requires a presentation of “facts which would tend to show that
27          the Government is in possession of information helpful to the
            defense.” United States v. Mandel, 914 F.2d 1215, 1219 (9th Cir.
28
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            1990). “Neither a general description of the information sought
 1          nor conclusory allegations of materiality suffice.” Id.
 2
            Even though the defense contends in its motion that materiality
 3
      has a low threshold, it still needs to be more than an educated guess
 4
      about the existence of or importance of a document. United States v.
 5
      Salyer, 271 F.R.D. 148, 158 (E.D.Cal. July 9, 2010). In the instant
 6
      case, the defense’s inquiry does not rise to the level of an educated
 7
      guess. The defense assumes that unidentified documents exist, which
 8
      were “cultivated” or “purloined” by unidentified private parties, who
 9
      the defense speculates may be employees or fiduciaries of Company A.
10
      The defense further assumes that the unidentified private parties
11
      proffered these unidentified documents to SS at SS’s request, who they
12
      presume   was   acting   as   an   agent       of   the   government.   The   defense
13
      additionally assumes that SS proffered these unidentified documents to
14
      the government, who failed to disclose them in discovery. Finally, the
15
      defense’s biggest assumption is that the government directed all this
16
      activity in the first place.
17
            The defense has failed to articulate any facts tending to show the
18
      sought-after documents exist or have not previously been produced. To
19
      the contrary, the government has repeatedly assured the defense that
20
      all the evidence intended to be used in its case-in-chief was obtained
21
      through grand jury subpoenas, which were issued in 2016. Thus, the
22
      evidence received via subpoenas and to be used as exhibits at trial
23
      during the government’s case-in-chief were neither “cultivated” nor
24
      “purloined” by a purported employee or fiduciary of Company A.
25
            Moreover, the inevitable discovery exception to the exclusionary
26
      rule applies where the prosecution can establish by a preponderance of
27
      the evidence that the information and records ultimately would have
28
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 1 been discovered by lawful means. Nix v. Williams, 467 U.S. 431, 444
 2 (1984). Because the Company A information and records would be
 3 inevitably discovered through the lawful means of a subpoena to Company
 4 A, the defendants’ claim of a Fourth Amendment violation is without
 5 merit. In fact, to the extent that any “purloined” records were received
 6 from either Anon-1 or CY, it was well after the subpoenas were issued.
 7          On its face, it appears that the defense’s motion to compel seeks

 8 documents related to its speculation that SS obtained documents from
 9 private parties they refer to as Company A informants. In support of
10 their motion to compel, the defense acknowledges that they are seeking
11 this information to mount a Fourth Amendment challenge. Defendants
12 allege and have the burden to establish a Fourth Amendment violation,
13 namely that a private party acted as an agent or instrument of the
14 government. United States v. Cleaveland, 38 F.3 1092, 1093 (9th
15 Cir.1994). As best can be discerned, the defense posits that either CY
16 or Anon-1 were private parties who acted as agents or instruments of
17 the government by acting as an agent of SS, who was in turn an agent of
18 the government. The defense has provided no case law to support this
19 attenuated argument of agency. Their argument also overlooks the fact
20 that CY left Company A’s affiliated business in mid-2013, well before
21 SS met with the San Diego prosecution team.
22          The defense correctly sets out the two-part inquiry established to

23 evaluate a violation of the Fourth Amendment in United States v. Reed,
24 15 F.3d 928, 931 (9th Cir. 1994):
25
            (1) whether the government knew of and acquiesced in the intrusive
26          conduct; and
27          (2) whether the party performing the search intended to assist law
            enforcement efforts or further his own ends.
28
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 1
             In looking at step two, if a private party has dual motives, that
 2
      is a “legitimate, independent motivation to further its own ends” and
 3
      a desire to assist law enforcement, the Ninth Circuit requires the Court
 4
      to determine whether “the government’s participation” in the search was
 5
      “so extensive as to trigger Fourth Amendment scrutiny.”                Cleaveland at
 6
      1094. It is not enough that the government “used the fruits of the
 7
      search to obtain a warrant.” Id. Instead, the government must have
 8
      “actively” participated in the search. Id. See also United States v.
 9
      Walther, 652 F.2d 788, 792 (9th Cir. 1981) (“The presence of law
10
      enforcement officers who do not take an active role in encouraging or
11
      assisting an otherwise private search has been held insufficient to
12
      implicate Fourth Amendment interests, especially where the private
13
      party has had a legitimate independent motivation for conducting the
14
      search.”); Corngold v. United States, 367 F.2d 1, 5–6 (9th Cir. 1966)
15
      (en banc) (explaining that even when a private party has dual motives,
16
      a search that law enforcement “joined actively” is equivalent to a
17
      search by the government).
18
             Spamhous is an international nonprofit organization whose mission
19
      is to identify spammers and disrupt spamming-related activities. This
20
      mission is and was a “legitimate, independent motive” for Spamhaus to
21
      collect information on Company A.             Moreover, as the defense notes, an
22
      affiliate of Company A was actively suing Spamhaus at the time SS
23
      provided information to the FBI. This defamation lawsuit provided
24
      further reason for Spamhaus to seek and collect information about
25
      Company A. See Ames v The Spamhaus Project Limited [2015] EWHC 127
26
      (QB) 3.   The   facts   therefore      show    that   Spamhaus   had    legitimate,
27
      3   https://vlex.co.uk/vid/craig-ames-and-another-793272033 (last
28 accessed August 6, 2021).
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 1 independent motives for gathering information regarding Company A’s
 2 spamming activities.
 3          In contrast, the defense has proffered no evidence that a private

 4 party illicitly searched Company A, let alone that the government
 5 encouraged or condoned such an intrusion. Even if such an intrusion had
 6 occurred, “the subsequent involvement of government agents does not
 7 retroactively        transform    the     [private   party’s]    intrusion     into   a

 8 government search.” United States v. Sherwin, 539 F.2d 1, 6 (9th Cir.
 9 1976) (emphasis added). Having provided no facts to support their
10 various assertions, the defense has failed to make a threshold showing
11 of materiality and their motion should be denied.
12                                         CONCLUSION

13          Defendants’ motion is a fishing expedition that lacks both a

14 factual basis and legal support. For the foregoing reasons, the United
15 States respectfully requests that the court deny the defendants’ motion
16 to compel discovery.
17          DATED: August 6, 2021

18
19                                         Respectfully submitted,

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                                           /s/Sabrina L. Fève
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28
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